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                            IN THE UNITED STATES DISTRICT C~RT'~ .
                           FOR THE NORTHERN DISTRICT OF GEORGlt· U~j)utyC.~
                                      ATLANTA DIVISION

            LEONARDO NUNEZ-                                MOTION TO VACATE
            VIRRAIZABAL,                                   28 U.S.C. § 2255
                Movant,
                                                           CRIMINAL INDICTMENT NO.
                  v.                                       1:03-CR-0493-0DE-AJB-3

            UNITED STATES OF AMERICA,                      CIVIL FILE NO.
                Respondent.                                1: 1O-CV-0293-0DE-AJB

                            ORDER ADOPTING MAGISTRATE JUDGE'S
                            FINAL REPORT AND RECOMMENDATION

                  The matter is before the Court on Movant's post-judgment Fed. R. Civ. P.

            60(b)(4) motion, (Doc. 2454), the Magistrate Judge's Final Report and

            Recommendation that the motion be dismissed and that a certificate of appealability

            be denied, (Doc. 2465), Movant's motion that the government respond to his post-

            judgment motion, (Doc. 2466), and Movant's objections, (Doc. 2467).

                  In reviewing a Magistrate Judge's Report and Recommendation, the district

            court "shall make a de novo determination of those portions of the report or specified

            proposed findings or recommendations to which objection is made." 28 U.S.C.

            § 636(b)(1).   "Parties filing objections must specifically identify those findings

            objected to. Frivolous, conclusive or general objections need not be considered by the




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            district court." Nettles v. Wainwright, 677 F.2d 404,410 n.8 (former 5th Cir. 1982).1

            Absent obj ection, the district judge "may accept, rej ect, or modify, in whole or in part,

            the findings and recommendations made by the magistrate judge," 28 U.S.C.

            § 636(b )(1), if satisfied "that there is no clear error on the face of the record," Fed. R.

            Civ. P. 72, advisory committee note, 1983 Addition, Subdivision (b).

                  Movant is serving a 250-month term of imprisonment on his drug conspiracy

            conviction in this Court. (Doc. 2166.) In February 2010, Movant filed a 28 U.S.C.

            § 2255 motion, which the Court denied on June 28, 2010. (Docs. 2260, 2324.) In his

            current Rule 60(b) motion, Movant asserts that the government failed to prove the

            elements for a drug conspiracy and that the Court lacked authority to sentence him.

            (Doc. 2454 at 2-9.)

                   The Magistrate Judge has found that Movant's instant challenge to his

            conviction and sentence on the merits is the equivalent of a second or successive 28

            U.S.C. § 2255 motion, which is barred by § 2255(h) because Movant lacks

            certification from the Eleventh Circuit Court of Appeals to bring a second or

            successive § 2255 motion in this Court. (Doc. 2465 at 2-4.) The Magistrate Judge



                  lAlthough the Fifth Circuit has overruled Nettles, it remains valid law in the
            Eleventh Circuit. United States v. Schultz, 565 F.3d 1353, 1361 n. 4 (lIth Cir. 2009).

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            (1) notes that Movant cites Abdur'Rahman v. Bell, 537 U.S. 88 (2002), to support his

            argument that his Rule 60(b) motion is not a successive § 2255 motion and (2) also

            notes that the court in Abd ur'Rahman had dismissed the writ of certiorari as

            improvidently granted in that case and that the only associated opinion was a non-

            binding dissent. (Doc. 2465 at 2 n.1.)

                  Petitioner objects that he has presented a valid Rule 60(b) motion, again attacks

            his conviction and sentence on the merits, and relies on Justice Stevens's dissent in

            Abdur'Rahman (quoting Judge Tjoflat from the Eleventh Circuit Court of Appeals)

            as persuasive authority on the difference between a genuine Rule 60(b) motion and a

            successive § 2255 motion. 2 (Doc. 2467 at 1-2.)

                  "Federal Rule of Civil Procedure 60 provides a basis, but only a limited basis,

            for a party to seek relief from a final judgment in a habeas [or § 2255] case." Williams

            v. Chatman, 510 F.3d 1290, 1293 (11th Cir. 2007) (discussing Gonzalez v. Crosby,

            545 U.S. 524 (2005)). Rule 60(b) may not be used to "circumvent" the restrictions on


                  2 Justice Stevens, in his dissent in Abdur'Rahman, refers to an opinion by Judge
            Tjoflat from the Eleventh Circuit Court of Appeals for the proposition that a motion
            "seeking relief from a federal court's final order entered in a habeas proceeding"
            generally is a Rule 60(b) motion and that a motion "seeking relief from a . . .
            judgment of conviction" generally is a second or successive § 2255 motion.
            Abdur'Rahman, 537 U.S. at 94. Even if Justice Stevens's opinion was binding on this
            Court, Movant's argument would fail.

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            successive § 2255 motions. Zakrzewski v. McDonough, 490 F.3d 1264, 1267 (l1th

            Cir. 2007) (citing Gonzalez, 545 U.S. 524). A Rule 60(b) motion that attacks the

            underlying criminal conviction or sentence on the merits must be treated as a

            successive attempt at collateral review under § 2255, and it must be dismissed when

            the movant has not complied with § 2255(h)'s certification requirement. Gilbert v.

            United States, 640 F.3d 1293, 1323 (11th Cir. 2011) (discussing Gonzalez and stating

            that a motion that asserts or reasserts a claim for relief from the underlying criminal

            judgment, "instead of pointing out a defect in the integrity of the earlier § 2255 motion

            proceeding in his case, ... is the equivalent of a second or successive motion and is

            barred by § 2255(h)"), cert. denied, _    U.S. _, 132 S. Ct. 1001 (2012).

                  Movant's objection fails under binding precedent. Movant's motion seeking

            relief from his conviction and sentence is a second or successive § 2255 motion. The

            Court finds no error in the Magistrate Judge's Report and Recommendation.

                  Accordingly,

                  IT IS ORDERED that Movant's objections, (Doc. 2467), are OVERRULED;

            the Magistrate Judge's Final Report and Recommendation, (Doc. 2465), is

            ADOPTED as the Order of this Court; Movant's post-judgment Fed. R. Civ. P.




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           60(b)(4) motion, (Doc. 2454), construed as a successive motion under § 2255,3 is

           DISMISSED for lack of jurisdiction; and a certificate of appealability is DENIED.

                 IT IS FURTHER ORDERED that Movant's motion that the government

           respond to his post-judgment motion, (Doc. 2466), is DENIED as moot.



                 IT IS SO ORDERED, this c2l day of June, 2012.



                                                  ORlNDA D. EVANS
                                                  UNITED STATES DISTRlCT JUDGE




                   3The Court may recharacterize Movant's current motion as a § 2255 motion
           without first notifying him because notification is required only when a filing is
           recharacterized as a prisoner's first § 2255 motion. See Castro v. United States, 540
           U.S. 375, 383 (2003) ("The limitation applies when a court recharacterizes a pro se
           litigant's motion as a first § 2255 motion."); Gonzalez v. Sec'y for Dep't ofCorr., 366
           F.3d 1253,1277 n.10 (11th Cir. 2004) ("The Castro decision does not extend beyond
           initial filings .... "). This is not Movant's first § 2255 motion. (See Doc. No. 2260.)

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